       Case 1:18-cv-11642-VM-VF Document 339 Filed 09/16/22 Page 1 of 12
                                                  Court-Appointed Temporary Receiver for Link Motion Inc.

 Robert W. Seiden                                 Pursuant to The Honorable Judge Victor Marrero of the
                                                  United States District Court, Southern District of New York
_____________________________________________________________________________________________
Robert W. Seiden, Esq. | The Seiden Group
 Esq.
469 7th Avenue, 5th Floor
New York, New York 10036
Tel: (646) 766-1724
Email: rseiden@seidenlegal.com

VIA FAX (212) 805-6382
Hon. Victor Marrero
Suite 1040
United States Courthouse
500 Pearl Street
New York, New York 10007

February 20, 2019

                  Re: Wayne Baliga v. Link Motion Inc. et al. 1:18-cv-11642

Dear Honorable Judge Marrero,

        I look forward to serving this Court and your Honor as the Temporary Receiver of Link
Motion Inc. I write to you pursuant to your Honor’s February 1, 2019 Oder to request approval
to retain the law firm Kobre & Kim to perform certain work on behalf of Link Motion Inc. (or
the "Company") to ensure your Honor's orders are complied with and that the Company's status
quo is preserved. Attached to this letter, please find the proposed engagement agreement that the
Receiver seeks approval of.
        Because the work that Kobre & Kim will be doing includes the filing of an ex-parte
Mareva injunction to freeze Company bank accounts in Hong Kong (see page two, section 5 of
the attached engagement agreement), I respectfully request that this engagement agreement be
approved as soon as possible and the engagement agreement itself be kept confidential at this
time in order to prevent giving the Individual Defendants notice of the planned ex-parte
injunction request, which would allow them the opportunity to further transfer assets and
withdraw cash from the very bank accounts that Kobre and Kim will be moving to freeze (if the
Individual Defendants have not already taken such illegal actions).
       Please do not hesitate to contact me via email or telephone if your honor wishes to
discuss this request in more detail.

Respectfully submitted,



Robert W. Seiden, Esq.
Court-Appointed Temporary Receiver for
Link Motion Inc.
         Case 1:18-cv-11642-VM-VF Document 339 Filed 09/16/22 Page 2 of 12




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


WAYNE BALIGA, derivatively on behalf of
LINK MOTION INC. (F/K/A NQ MOBILE INC.)
                                                                  1:18-cv-11642
                               Plaintiff,
                -against-                                         ORDER

LINK MOTION INC. (F/K/A NQ MOBILE INC.),
VINCENT WENYONG SHI,
JIA LIAN,
XIAO YU,

                               Defendants,
                -and-

LINK MOTION INC. (F/K/A NQ MOBILE INC.),

                                Nominal Defendant.


         On February 20, 2019, the Temporary Receiver in this action (the “Receiver”) submitted a letter

to the Court requesting approval of an engagement agreement in order to retain the law firm Kobe &

Kim LLP (“Kobre & Kim”) on behalf of Link Motion Inc. (the “Company”) in order to provide certain

legal services for the Company in Hong Kong and the People’s Republic of China. I have reviewed the

Receiver’s submission, and, with good cause appearing, it is hereby:

         ORDERED THAT, the request is approved, and the Receiver may retain Kobre & Kim to

perform work on behalf of the Receiver and the Company, until such time as the Receiver deems

appropriate or until further order from this Court.

SO ORDERED.

Dated:    February 20, 2019
          New York, New York

                                              _______________________
                                              Hon. Victor Marrero
                                              United States District Judge
Case 1:18-cv-11642-VM-VF Document 339 Filed 09/16/22 Page 3 of 12
Case 1:18-cv-11642-VM-VF Document 339 Filed 09/16/22 Page 4 of 12
Case 1:18-cv-11642-VM-VF Document 339 Filed 09/16/22 Page 5 of 12
Case 1:18-cv-11642-VM-VF Document 339 Filed 09/16/22 Page 6 of 12
Case 1:18-cv-11642-VM-VF Document 339 Filed 09/16/22 Page 7 of 12
Case 1:18-cv-11642-VM-VF Document 339 Filed 09/16/22 Page 8 of 12
Case 1:18-cv-11642-VM-VF Document 339 Filed 09/16/22 Page 9 of 12
Case 1:18-cv-11642-VM-VF Document 339 Filed 09/16/22 Page 10 of 12
Case 1:18-cv-11642-VM-VF Document 339 Filed 09/16/22 Page 11 of 12
Case 1:18-cv-11642-VM-VF Document 339 Filed 09/16/22 Page 12 of 12
